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                        IN THE UNITED STATES DISTRICT COURT
                                                                                      12   4HII:&
                    WESTERN DISTRICT OF TEXAS, AUSTIN
                                                                            WES1,
ROBERT COLLINS,                                              §

                  Plaintiff,                                 §




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                                                                  A19CV1O9?LY
General Counsel LYNN ROBITAILLE GARCIA,                      §   C.A.No.
Current Commissioners JEFFREY J                              §
BARNARD, BRUCE BUDOWLE, PATRICK                              §
BUZZ INI, MARK DANIEL, NANCY DOWNING,                        §
JASMINE DRAKE, DENNIS JOHNSON, SARAH                         §
KERRIGAN, JARVIS PARSONS, Texas                              §
Department of Public Safety Crime                            §
Laboratory Director BRADY MILLS,                             §
Montgomery County Assistant District                         §
Attorney ANDREW JAMES, FBI Special                           §
Agent in Charge PERRYE K. TURNER,                            §
Other AS-YET-UNKNOWN STATE OFFICIALS,                        §
And other AS-YET-UNKNOWN FBI AGENTS,                         §
           Defendants                                        §     JURY TRIAL DEMANDED


                                                 COMPLAINT

           NOW COMES Plaintiff, ROBERT COLLINS, filing pro se, and

complaining of Present Commissioners of the TEXAS FORENSIC

SCIENCE COMMISSION                 (the "Commission"),       JEFFREY   J.   BARNARD, BRUCE

BUDOWLE, PATRICK BUZZINI, MARK DANIEL, NANCY DOWLING, JASMINE

DRAKE, DENNIS JOHNSON, SARAH KERRIGAN, JARVIS PARSONS,                              Texas DPS

Crime Lab Director BRADY MILLS, Commission General Counsel LYNN

ROBITAILLE GARCIA, Montgomery County ADA Andrew JAMES, FBI

Special Agent in Charge PERRYE K. TURNER, and other AS-YET-

UNKNOWN STATE and FBI OFFICIALS (collectively, the

"Defendants"),             alleges as follows:
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                            Introduction

     1.   In January of 2019 and continuing thereafter,     the above-

named Defendants engaged in a conspiracy to discredit Plaintiff,

Robert Collins, and cover up ongoing misconduct by the Texas

Department of Public Safety Crime Laboratory ("DPS Crime Lab")

Plaintiff submitted a true and legitimate complaint to the

Commission. The Defendant Commissioners responded, under color

of law, by defaming the Plaintiff and depriving him of his

Constitutional rights.

     2.   Plaintiff, in the normal course of his work as a court

appointed expert witness, discovered serious deficiencies and

misconduct by the DPS Crime Lab. The DPS Crime Lab presented

false evidence and gave false testimony in the capital murder

trial of Fred Lee (SOT vs. Fred Dexter Lee)    .   The false testimony

was exposed to the jury by Plaintiff and the jury returned a

"not guilty" verdict. Debunking the State's DNA expert and the

evidence he presented was the only defense presented by

defendant Fred Lee.

     3.   Though the Plaintiff's work helped to result in a "not

guilty" verdict for the defendant, the State's flagrant use of

false evidence and perjured testimony both legally and morally

demanded further action by the Plaintiff.     Plaintiff filed a

complaint to the Commission. The Defendants intentionally

violated numerous constitutional rights of Plaintiff in its

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efforts to hide the DPS Lab's wrongdoing and permit ongoing

misconduct by the DPS Lab.         Defendant's actions caused

unwarranted and ongoing damage to Plaintiff's constitutional

rights guaranteed under the        5th,    6th       and 14th Amendments to the

United States Constitution. This lawsuit seeks relief from these

actions and redress for the injuries caused.



                            Jurisdiction and Venue

        4.   This action is brought pursuant to 42 U.S.C.

Section 1983 to redress the deprivation, under color of law, of

Plaintiff's rights as secured by the United States Constitution.

        5.   This Court has jurisdiction pursuant to 28 U.S.C.

§   1331,     1367. Venue is proper under 28 U.S.C.             § 1391(b).   The

parties hold State mandated meetings in this judicial district,

and the events giving rise to the claims asserted herein

occurred in this judicial district as well.



                                 The Parties

        6.   Plaintiff Robert Collins is a self-employed DNA expert

and resident of the State of Texas. Plaintiff has a B.S. in

Genetics,      cum laude,   from Texas A&M University (College Station,

1994)    and a Ph.D.   in Molecular and Human Genetics from Baylor

College of Medicine (Houston, 2000)              .     At the time the Plaintiff

was maliciously defamed and falsely discredited by the

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Defendants,       Plaintiff was faithfully performing the duties of

his job as a court-appointed expert while simultaneously

carrying-out his duties and responsibilities as             a   Citizen of

Texas and the United States of America.

       7.    At all times relevant hereto,     Defendant Commissioners

were duly appointed to the Texas Forensic Science Commission by

Texas Governor Greg Abbott. The Defendant Commissioners were

tasked under statute to authorize and conduct a proper

investigation of the complaint. The remaining defendants were

performing the state or federally mandated duties of the jobs.

       8.    All of the foregoing Defendants are sued in their

individual capacities.         All acted under color of law and in the

scope of their employment or official duties while engaging in

the actions alleged in this Complaint.



                             Background Allegations

       9.    A basic responsibility of the DPS Crime Lab is to

securely and safely store the State's DNA evidence until its

probative value can be determined by a jury. The Texas Code of

Criminal Procedure Section 38.43 (Attachment           1   on the Attachment

DVD)   states biological evidence in unsolved cases must be

preserved and retained:

      (1)  for not less than 40 years, or until any applicable statute
of limitations has expired, if there is an unapprehended actor
associated with the offense;


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     10.    The DPS Crime Lab failed this basic responsibility. The

DNA evidence in the Fred Lee capital murder case        (above)   had

degraded while in the DPS Crime Lab's custody for nine years and

no longer represented the DNA evidence collected at the crime

scene. DNA degradation while in DPS Lab custody was clearly

demonstrated in the complaint to the Commission. The DNA

Technical Leader of the Houston DPS Crime Lab, Andrew McWhorter,

presented the false, degraded DNA evidence to the jury as if it

was the actual evidence collected.

     11. Additionally,       Technical Leader Andrew McWhorter did not

notify at least three bodies that accredit the DPS Crime Lab, as

required,    that the DNA evidence had degraded while stored

"safely and securely" by the DPS Lab. Texas Administrative Code

Rule §28.92    (Attachment    2)   states:

      (c) A forensic DNA laboratory shall establish and maintain a
procedure that requires prompt reporting of each substantial deficiency by
the laboratory. Laboratory personnel shall promptly report an incident of
substantial deficiency by the laboratory to appropriate authorities,
including the laboratory's director, the director of the department, the
laboratory's recognized accrediting body, and the appropriate prosecutor
or other criminal justice or law enforcement agency. This section does not
apply to a deficiency that laboratory personnel reasonably believe to be
minor and not substantial.

     12.    Documents obtained from the State through discovery

and/or presented by the State at the trial clearly show DNA

degradation had occurred. For example, the DNA report made by

Technical Leader Andrew McWhorter on March 22, 2013 is shown on

pages Al through A5 of the Appendix. The DNA profiles obtained



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from evidence item "vehicle   (1A)" are described by DNA Section

Supervisor Andrew Mcwhorter on Appendix page A4. The encircled

text states the profiles of two individuals were found on the

evidence item.    Fifty-one DNA alleles (discovery data) were

identified at the sixteen DNA loci tested in this March 22,2013

analysis that enabled this accurate conclusion.

     13. Thus,   the DNA profiles present on evidence item

"vehicle (1A)" were already known by TL Andrew McWhorter in 2013

from this initial analysis.   In 2017,      he ignored these prior

results and selected four of the DNA extracts kept in storage at

the DPS Crime Lab to be re-analyzed.        Defense discovery for the

data generated by this re-analysis and a valid reason for doing

it were not provided after repeated requests.

     14.   During his testimony,    (now)   Technical Leader Andrew

McWhorter entered an allele table containing the results he

found in the re-analysis of the DNA extracts from the four

evidence items. Appendix page A6 shows the allele table that was

entered into evidence on January 10, 2019. The column that lists

the results from "vehicle   (1A)"    (encircled)    shows that every one

of the fifty-one alleles obtained in 2008 had completely

degraded and were now absent. Furthermore,         all four evidence

extracts that were re-processed in 2017 had severely degraded

while in storage at the DPS Crime Lab. Other documents obtained
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through discovery indicate DNA evidence degradation is systemic

at the DPS Crime Lab and may affect hundreds of cases.

     15.   Plaintiff filed      a   complaint with the Texas Forensic

Science Commission concerning the actions of the DPS Crime Lab.

The Commission is charged with ensuring the accuracy and

integrity of the forensic science that is used in the Texas

Criminal Justice System. The Commission complaint form that was

submitted by the Plaintiff is located on Appendix pages A7-A10.

The "DESCRIPTION OF COMPLAINT" section of the complaint is on

Appendix page A9. In the third paragraph          (encircled),   complaint

states   "...the    chart was clearly an allele table of badly degraded

DNA profiles that were already known. The main question was why

it was even done." The DPS Crime Lab hadn't worked on the case

since 2013 when the State began using Bode Technologies because

the DPS Crime Lab was too slow.          Not only was the DNA badly

degraded, the DPS lab used it anyway and presented a fraudulent

analysis to the jury in order to implicate the defendant.

     16.   From that day forward, Plaintiff Robert Collins has

conducted an exhaustive pursuit of exposing this misconduct by

the DPS Crime Lab. Despite the unconstitutional actions of the

Defendants,        Plaintiff will continue performing his civic

responsibility to expose corruption whenever he finds it.




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                        Defendants' Misconduct

     17.    Upon receipt of the complaint and recognition of the

egregious misconduct by the DPS Crime Lab, an unlawful plan to

cover up the misconduct was undertaken by the Defendants. The

Defendants conspired to hide the incontrovertible fact that DNA

evidence had degraded while in DPS Lab custody. Failure by the

DPS Lab to perform this basic obligation raises serious

questions about all cases previously adjudicated in Texas that

used DNA evidence processed or stored by the DPS Crime

Laboratory. The fact that the disastrous consequences of

systemic DNA degradation are recognized is underscored by the

lengths the Defendants    took to hide the fact that it had

occurred.

     18.    The DPS Lab refused to provide the casefile containing

the data generated by the lab before the trial. The trial Judge

ordered it be provided through discovery and the defense asked

the state for it at least twice leading up to the trial.        The

Commission has also refused to provide the casefile. This again

shows knowledge and collusion by all Defendants in this

conspiracy.

     19.    Rather than perform the investigative work necessary to

properly process the complaint,    the Commissioners instead

conspired among themselves to subvert the process and

intentionally reach a corrupt decision. Specifically, the

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Commissioner Defendants ignored the true complaint of DNA

degradation and pretended to investigate                a   "strawman" complaint

unrelated to DNA degradation. This fake "strawman" complaint is

given on page        3    of the Commission's May      3,   2019 meeting minutes

(Attachment     3)       as:

      A complaint by DNA consultant, Dr. Robert Collins, alleging

      DPS     Houston DNA technical leader falsely reported an

       inconclusive result that should have been an exclusion in a

      capital murder trial.



      20.    In that regard, the Defendants conducted a sham

investigation on whether the DPS Lab used the analysis software

STRmix® properly and ignored the true complaint of DNA

degradation.     This sham investigation was conducted unlawfully by

a   single Commissioner in concert with the Houston-DPS lab whom

the complaint was against. The sham investigation was carried

out without the statutorily required panel of three

Commissioners working under the authorization of the full

Commission. The proper way to conduct              a   complaint investigation,

after an investigative panel is appointed,                  is contained in Texas

Administrative Code RULE §651.307 shown on Appendix page All.

       21.   Commissioner Bruce Budowle conspired with the subject

of the complaint,              DPS Lab Technical Leader Andrew McWhorter,     DPS

Lab Director Brady Mills, Montgomery County ADA Andrew James and
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other as-yet-unknown DPS Crime Lab and/or state officials to

produce the sham investigation. Commissioner Budowle

participating in an investigation into TL Andrew McWhorter is a

flagrant conflict of interest violation that is expressly

forbidden by statute. Budowle and McWhorter are co-authors on                a


peer-reviewed journal article (Forensic Sci         mt   Genet. 2019

May;40:1-8.) that was electronically published in January 2019

and published in May 2019. This is the very time frame of their

sham investigation. Appendix page Al2 is the National Library of

Medicine (PUBMED) abstract of this article with co-authors

Budowle and McWhorter's names highlighted. A finding by the

Commission of misconduct by Technical Leader Andrew McWhorter

would cause, at a minimum, the retraction of their co-authored

article.    The results of the sham investigation were presented

publicly at the Commission's Quarterly Meeting on May           3,   2019.

     22.   The video record of the May     3,   2019 Commission meeting

is available through the Commission's website

(www.txcourts.gov/fsc/meetings)    .   A 45-minute video excerpt

(Attachment   4)   of the meeting is provided on the Attachment DVD

provided with the complaint. The video excerpt, from

approximately one hour and nine minutes         (1:09)   to one-hour and

fifty-four minutes (1:54), contains the events described in this

complaint and is herein referred to as the Meeting Video. The




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times noted in this document use the elapsed meeting time shown

at the bottom of the video.

       23. Commissioner Budowle gave an approximately thirty-

minute slide presentation of the sham investigation that starts

at the beginning        (1:09:00 mark) of the Meeting Video.

Commissioner Budowle mis-stated the true subject of the

complaint    (DNA degradation while in DPS Lab custody) and

proceeded to present his sham investigation.                        He made numerous

false statements and specious conclusions that resulted in the

Commission's desired pre-planned result.

     24.    The full Commission went into a planned,                      illegal closed

session at the one-hour-and-fifteen-minute mark of the meeting.

The Commission intentionally and knowingly hid the documents

that show DNA degradation had occurred from the Plaintiff and

the public. These documents are required by the Texas Open

Records Act to be shown when being discussed at an open meeting

(Attachment 5).       Page 40 of the Texas Attorney General's Handbook

on Open Meetings states

  (a) A person in attendance may record all or any part of an open meeting of a governmental body
      by means of a recorder, video camera, or other means of aural or visual reproduction.

Furthermore, the Commission must announce and give a valid

reason before entering an official closed session (pages 40-58)

Section D on page 56 expressly states there is "No Implied

Authority for Closed Meetings." Instead, the Commission stopped


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using the publicly viewable screen and discussed documents that

were unviewable to the public for five minutes. The Commission's

unlawful secret viewing of    a   document(s)   that further confirm

degradation to the Plaintiff and public shows knowledge of the

sham investigation and again confirms each Commission member's

participation in it.

     25.    The presentation of the sham investigation concluded by

finding there had only been a misunderstanding on the use of the

STRmix® software. DNA degradation,         the actual subject of the

complaint, was not mentioned once during the Commission's entire

thirty-minute presentation. Conversely, neither STRmix® nor the

DPS lab's misuse of it were not mentioned even a single time in

the Plaintiff's complaint to the Commission.

     26.    Plaintiff attended the Commission's quarterly meeting

on May 3,    2019 expecting to present his complaint followed by

the Commission voting to appoint an investigative panel (or not)

as per statute.    Upon learning the Commission had already taken

some sort of unannounced investigative action,         Plaintiff chose

to make a statement after the Commission's presentation.

Plaintiff was stunned by the attempted cover-up of the degraded

DNA issue and the elaborate dog-and-pony show by the Commission

that he had just witnessed.

     27. At the one-hour-and-forty-two-minute mark of the

Meeting Video, after the Commission's presentation, Plaintiff

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made his statement.   Plaintiff stated to the Commission and the

public that the basis of his complaint was DNA degradation and

not the topic just presented.    Plaintiff clearly stated the basis

of his complaint was degraded DNA and explained,      from

experience, three ways that it could have happened. The issue is

the DNA is no longer the evidence collected at the crime scene

and should not have been introduced by the State or the DPS

Crime Lab as evidence; analyzed, unanalyzed,      or even as a

footnote. The DPS Lab intentionally and knowingly analyzed the

degraded DNA anyway for the sole reason of producing false

incriminating evidence in a capital murder trial.

     28. Commissioner Budowle responded at the      1:47:45 mark of

the Meeting Video by defaming the Plaintiff. He brazenly stated

that the plaintiff was wrong, and they found no evidence of DNA

degradation. Again, as shown previously,     this statement is

patently false. The Commission, under color of law,

intentionally and knowingly made false statements to defame and

discredit the plaintiff solely to cover up the misconduct of the

DPS Lab and permit the misconduct to continue. These actions

clearly surpass any "shock the conscience" standard applied. The

Commission is covering up the very conduct it is supposed to

protect the public from. The Commission is gaslighting the

public with the false reassurance that it is doing its job.



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     29. The Commissioner contradicted the Plaintiff,         in a

public forum, stating that the Plaintiff did not have evidence

for degradation.   In fact,    Plaintiff had the same irrefutable

evidence of DNA degradation discussed above in his hand at the

meeting. Commissioner told the Plaintiff he needed to "step

back" with his allegations in an attempt, under color of law,           to

coerce and intimidate the Plaintiff.       Finally, Plaintiff was

denied a chance to respond to the false charges of Commissioner

Budowle when the Commission Chair silenced his due rebuttal, a

clear violation of the   6th   Amendment's confrontation clause.

     30.   The unsanctioned sham investigation by Commissioner

Budowle and the DPS Lab co-conspirators recommended that the

Commission "Open investigative panel to guide corrective

process." The Commission ignored the due process required by

statute (RULE §651.307, Appendix page All) by authorizing an

investigative panel after the findings of the Commission's sham

investigation. Surprised but unfazed, Plaintiff left the meeting

determined to expose the illegal activities that he had

witnessed at the Commission meeting.

     31.   Apparently, the Commission is corrupt and will protect

the illegal activities of the DPS Crime Lab at any cost.

However, the Federal Bureau of Investigation       (FBI)   is charged

with ensuring that every DNA lab meets federally mandated FBI

Quality Assurance Standards (QAS) in order to continue

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operating.   Just the fact that the DNA degraded while in DPS Lab

custody is   a   major violation. The DPS lab not filing     a    self-

disclosure with the FBI is another major violation. Plaintiff

prepared a second complaint for submission to the FBI

("Complaint to FBI")    .   The Complaint to FBI covered the original

complaint to the Commission and the Commission's illegal

actions.

     32.   Commissioner Bruce Budowle is a twenty-six-year veteran

of the Federal Bureau of Investigation. At Commission meetings,

he often speaks of MOU5 (Memorandum of Understanding)            that he

has with the FBI.

     33.   Plaintiff went to the Houston Field Office of the FBI

on the afternoon of August 5,         2019 to file his complaint against

the Commission. However,       the FBI agents/employees, under the

direction of SAIC Perrye       K.   Turner, already knew who Plaintiff

was and why he had come to the FBI office.         The FBI officials

refused to accept the Complaint to FBI either in person or by

providing an email address for submission. The FBI Agent also

refused to accept the web address for a Dropbox® in order to

download the Complaint to FBI themselves. Public corruption

involving FBI veterans is apparently not included in the "See

Something,   Say Something" promotional campaign.

     34.   Commissioner Bruce Budowle had contacted his co-

conspirators at the FBI who refused to accept and investigate a

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legitimate complaint from a U.S. Citizen. In fact,            the FBI

notified the target of the complaint, Commissioner Budowle, that

the Plaintiff had attempted to file a complaint against him.

This is the height of tyranny and oppression,           without using

outright violence, by the government. The FBI did nothing but

expose the Plaintiff to possible retaliation by actors shown to

be unethical and willing to manufacture false evidence in a

capital murder trial. Again,         the "shock the conscience" standard

is easily surpassed.        Plaintiff wrote a cover letter (Appendix

page Al3) to accompany the Complaint to FBI and gave it to the

agent. A copy of the Commission's Disposition Letter regarding

the case that was received by the Plaintiff           (Appendix page Al4)

was also given to the agent to authenticate and prove the

Plaintiff's standing. The cover and disposition letters remain

in the FBI's possession along with the FBI's video of the

interview with the Plaintiff.



                              Plaintiff's Damages

       35.    At the time he was wrongfully defamed and falsely

discredited by the Commission, Plaintiff was a successful and

respected DNA expert/consultant in Houston, Texas.             Since the

May   3,    2019 Commission meeting,    Plaintiff has not received

several cases that were expected at the time of the Commission

meeting and casework has declined drastically.

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     36.   Since attempting to submit the Complaint to FBI,

Plaintiff has lived in fear of continued government oppression

and/or retaliation in order to silence him. Plaintiff also

experiences periods of anxiety, despair, depression and

agoraphobia. The Plaintiff has suffered enormous undue pain and

suffering.

     37.   As a result of the foregoing,           Plaintiff has suffered

almost unfathomable damages, all proximately caused by

Defendants' misconduct.



                       Policies    arid       Practices:

     38.   The Commission's actions during this period of were

governed by the TEXAS FORENSIC SCIENCE COMMISSION, POLICIES AND

PROCEDURES, ADOPTED FEBRUARY      2,    2018     (Attachment 6). Section 1.0

states the investigative mission of the Commission is to conduct

"thorough and fair investigations."

     39.   Section 4.0 of the POLICIES AND PROCEDURES describes

the appointment of an investigative panel and its duties after

it is appointed.    It clearly states that investigations are

performed by a three-person investigative panel appointed by the

entire Commission. However,    the sham, unauthorized Budowle/DPS-

Houston panel investigated the complaint and cleared the DPS Lab

of misconduct before a legitimate investigative panel was

appointed.   The legitimate investigative panel was formed,

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according to the presentation, only to "guide corrective action

process." The actual complaint was never investigated.

     40.   Section 4.0(g) states:

     (a)    FSC Investigation    Panels   may meet    by   telephone  for
     information-gathering  purposes  only.  All deliberative discussions
     by Panels shall be held in open, public meetings in accordance with
     the Texas Open Meetings Act or other applicable law.


An investigation panel had not been appointed at the time of the

sham investigation.    No discussions were held in "open, public

meetings in accordance with the Texas Open Meetings Act." As

described above, the Commission intentionally hid incriminating

documents from public view in violation of the Act.

     41.   Section 17.0 contains the Conflicts Policy:

     (1)  Any member of the FSC who has a personal or private
     interest in a matter pending before the FSC shall publicly
     disclose the fact to the FSC during an open meeting.     The
     Commissioner may not vote or otherwise participate in the
     matter in which he or she has an interest.    The disclosure
     shall be entered in the minutes of the meeting.
Commissioner Bruce Budowle, who led the sham investigation into

his publication co-author, Andrew McWhorter, did not disclose

this relationship during the open meeting. Instead, the twenty-

six-year FBI veteran conspired with his co-author and the other

Defendants to cover up the DPS Lab's deficiencies and

misconduct.

     42.   From the POLICIES AND PROCEDURES Appendix A:

     "One of the Commission's statutory duties is to "require a
     crime laboratory that conducts forensic analyses to report


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    professional negligence or professional misconduct to the
    Commission." TEX. CODE CRIM. PROC. § 38.01, Sec. 4(a)(2)."

The DPS Lab did not self-report the DNA degradation when

discovered in 2017. This is   a   violation of the Texas Code of

Criminal Procedure section cited above.



                     Count I -- 42 U.S.C. § 1983

Due Process

     43.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     44. As   described more fully above, all of the Defendants,

while acting individually, jointly, and in conspiracy, as well

as under color of law and within the scope of their employment,

deprived Plaintiff of his constitutional right to        a   thorough and

fair investigation as described by Texas statutes.

     45.   In the manner described more fully above, the

Defendants deliberately conducted a sham investigation to hide

the DPS Lab's actions including the data and documents generated

by the DPS Lab. The directed sham investigation was a clear

violation of the Due Process Clause of the Fourteenth Amendment

to the United States Constitution. The unlawful motive of hiding

DPS Lab misconduct from the public easily raises this to level

that "shocks the conscience" and,         accordingly, raises this to a

substantive due process violation.


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       46.   As a result of this violation of his constitutional

rights, Plaintiff suffered injuries,       including,   but not limited

to,   emotional distress, as is more fully alleged above.

       47.   The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

willful indifference to Plaintiff's constitutional rights.

       46.   The misconduct described in this Count was undertaken

contrary to the Fourteenth Amendment to the United States

Constitution, Texas Code of Criminal Procedure and/or Texas

Administrative Code in the manner described more fully above.



                      Count II -- 42 U.S.C. § 1983

6th Amendment

       49.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

       50. As described more fully above, one or more of the

Defendants,     all while acting individually, jointly, and in

conspiracy, as well as under color of law and within the scope

of their employment,     denied Plaintiff the right to confront his

accuser in violation of his constitutional rights.

       51.   As a result of this violation,   Plaintiff suffered

injuries, including but not limited to emotional distress,          as is

more fully alleged above.

       52.   The misconduct described in this Count was

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objectively unreasonable and was undertaken intentionally with

willful indifference to Plaintiffts constitutional rights.

       53.   The misconduct described in this Count was undertaken

against the Confrontation Clause of        6th   Amendment to the United

States Constitution in the manner described more fully above.



                      Count III -- 42 U.S.C. § 1983

5th Amendment

       54.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

       55. As   described more fully above, one or more of the

Defendants, all while acting individually, jointly, and in

conspiracy, as well as under color of law and within the scope

of their employment, denied Plaintiff's constitutional          rights to

Due Process and Equal Protection. This includes FBI SAIC PERRYE

K.   TURNER and other AS-YET-UNKNOWN DEFENDENTS at the FBI. This

complaint is a BIVENS claim against these defendants.

       56. As a result of this violation,        Plaintiff suffered

injuries, including but not limited to emotional distress, as is

more fully alleged above.

       57.   The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

willful indifference to Plaintiffs constitutional rights.



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     58.    The misconduct described in this Count was undertaken

against the Due Process Clause of the 5th Amendment to the

United States Constitution in the manner described more fully

above.



                       Count IV -- 42 U.S.C. § 1983

Equal Protection

     59.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     60. As    described more fully above, Defendants, all

while acting individually,      jointly, and in conspiracy, as well

as under color of law and within the scope of their employment,

denied Plaintiff equal protection of the law in violation of his

constitutional rights.

     61.    Specifically, these Defendants actively

participated in, or personally caused, misconduct in terms of

abusing the Plaintiff in a manner calculated to oppress, coerce

and intimidate him into silence. Said misconduct was motivated

by the desire to hide the misconduct of the state DPS Lab.               The

efforts by the Commission to hide the degraded DNA shows

previous knowledge of the wide-spread problem. The Plaintiff was

again denied equal protection when the FBI conspired to hide the

illegal actions of the Commission instead of investigating           a


legitimate complaint by      a U.S.   Citizen.

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     62.   As a result of this violation, Plaintiff suffered

injuries, including but not limited to emotional distress, as is

more fully alleged above.

     63. The   misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

willful indifference to Plaintiff's constitutional rights.

     64. The   misconduct described in this Count was undertaken

contrary to the Texas Code of Criminal Procedure and United

States Constitution in the manner described more fully above.



              Count IV -- 42 U.S.C. § 1985(3) Conspiracy

Conspiracy to Deprive Constitutional Rights

     65.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     66. As    described more fully above, each of the Defendants

conspired, directly or indirectly,        for the purpose of depriving

Plaintiff of Due Process of the law.

     67.   In so doing,   Defendants took actions in

furtherance of this conspiracy,     causing injury to Plaintiff.

     68.   The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the

rights of the Plaintiff.

     69.   The misconduct described in this Count was undertaken

contrary to the Texas Code of Criminal Procedure and/or Texas

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Administrative Code and the United States Constitution in the

manner described more fully above.



                    Count V -- 42 U.S.C. § 1983

Failure to Intervene

     70.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     71.   In the manner described above, during the

constitutional violations described above, one or more of the

Defendants   (and other as-yet-unknown state and FBI officials)

stood by without intervening to prevent the misconduct.

     72.   As a result of the Defendants' failure to intervene to

prevent the violation of Plaintiff's constitutional rights,

Plaintiff suffered pain and injury, as well as emotional

distress. These Defendants had a reasonable opportunity to

prevent this harm but failed to do so.

     73. The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

willful indifference to Plaintiff's constitutional rights.

     74.   The misconduct described in this Count was undertaken

contrary to the Texas Code of Criminal Procedure and United

States Constitution in the manner described more fully above.




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                    Count VII -- State Law Claim

Civil Conspiracy

     75.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     76.   As described more fully in the preceding

paragraphs, Defendants, acting in concert with other known and

unknown co-conspirators, conspired by concerted action to

accomplish an unlawful purpose by unlawful means.

     77.   In furtherance of the conspiracy,    Defendants

committed overt acts and were otherwise willful participants in

joint activity.

     78.   The misconduct described in this Count was undertaken

with malice, willfulness,   and reckless indifference to the

rights of others.

     79.   As a proximate result of Defendants' conspiracy,

Plaintiff suffered damages, including severe emotional distress

and anguish, as is more fully alleged above.



                    Count VIII -- State Law Claim

Intentional Infliction of Emotional Distress

     80.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     81.   The acts and conduct of the Defendants as set forth

above were extreme and outrageous. The Defendants intended to

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cause or were in reckless disregard of the probability that

their conduct would cause,    severe emotional distress to

Plaintiff, as is more fully alleged above.

     82.   Said actions and conduct did directly and proximately

cause severe emotional distress to Plaintiff, and thereby

constituted intentional infliction of emotional distress.

     83.   The misconduct described in this Count was undertaken

with malice, willfulness,    and reckless indifference to the

rights of others.

     84. As a proximate result of Defendants'      wrongful acts,

Plaintiff suffered damages, including severe emotional distress

and anguish, as is more fully alleged above.



WHEREFORE,   Plaintiff, ROBERT COLLINS, respectfully requests that

this Court enter judgment in his favor and against Defendants,

Present Commissioners of the TEXAS FORENSIC SCIENCE COMMISSION,

JEFFREY J BARNARD, BRUCE BUDOWLE, PATRICK BUZZINI, MARK DANIEL,

NANCY DOWNING, JASMINE DRAKE, DENNIS JOHNSON, SARAH KERRIGAN,

JARVIS PARSONS, General Counsel LYNN ROBITAILLE GARCIA,        DPS Lab

Director BRADY MILLS, MCADA ANDREW JAMES, FBI SAIC PERRYE K.

TURNER,    other AS-YET-UNKNOWN STATE OFFICIALS, and other AS-YET-

UNKNOWN FBI AGENTS awarding compensatory damages, costs, and

attorneys' fees, along with punitive damages against each of the

individual Defendants in their individual capacities, as well as

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any other relief this Court deems appropriate. Plaintiff

requests compensatory damages of $1,000,000 from each Defendant.

The egregious motives and damage to the public trust requires

significant punitive damages. The Plaintiff requests         a   minimum

of $10,000,000 in punitive damages from each defendant. Because

the Defendants were involved in a conspiracy,        Plaintiff requests

the damage awards be tripled to $3,000,000 in compensatory

damages and $30,000,000 in punitive damages from each defendant.



                               !iAJp)

Plaintiff, ROBERT COLLINS, hereby demands a trial by jury

pursuant to Federal Rule of Civil Procedure 38(b) on all issues

so triable.




RESPECTFULLY SUBMITTED:




Dr. Robert Collins
3920-6 West Alabama Street
Houston, TX 77027
robertcollinsphd@grnail corn
                          .




832-767-2129


Mailing Address:
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Houston, TX 77027



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List of Attachments
Attachment   1   -- TX Code Criminal Justice §38.43

Attachment   2      Texas Administrative Code rule §28.92

Attachment   3      Quarterly Meeting Minutes 050319
Attachment   4      Video excerpt from 5-3-2019 Commission Meeting

Attachment   5   -- AG's Texas Open Meetings Act Handbook 2018

Attachment   6      POLICIES AND PROCEDURES

Attachment   7   -- Detailed Complaint to TFSC   1-24-2019

Folder -- Appendix pages without highlighting and Complaint




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